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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :       No. 1:21-cr-00022-CKK
                                                 :
        v.                                       :
                                                 :
CHRISTOPHER RAY GRIDER,                          :
                                                 :
                        Defendant                :


 UNITED STATES’ RESPONSE TO DEFENDANT’S NOTICE OF INTENT TO RAISE
                    PUBLIC AUTHORITY DEFENSE


        Defendant Christopher Grider seeks to raise a defense of “entrapment by estoppel” at his

December trial in this matter. See Def’t Br. In Supp., Dkt. 108. But listening to then-President

Trump’s speech before the riot on January 6, 2021 certainly cannot be a reasonable defense – let

alone an exoneration – of the crimes with which he is charged.

        This is not the first time in this District that defendants have argued that high-ranking

government officials authorized criminal misconduct. Thirty years ago, the D.C. Circuit

considered an asserted defense not unlike that made by Grider. In the wake of the Iran-Contra

scandal, Oliver North faced criminal prosecution for conduct that North said he had been

directed to engage in by the National Security Advisor to President Reagan, allegedly with the

President’s acquiescence or approval. North was a high-ranking government official

indisputably working on behalf of the Administration; his superior, the National Security

Advisor, had not only condoned but engaged in similar misconduct; and his superior reported

directly to the President. North subpoenaed the then-former President to be a witness at his trial.

North also requested that the trial court use this jury instruction at his trial: “If you find that . . .

North acted in good faith on a superior’s apparent authorization of his action, and that his

reliance was reasonable based on the facts as he perceived them, that is a complete defense . . . .”
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United States v. North, 910 F.2d 843, 879 (D.C. Cir. 1990) (per curiam), opinion withdrawn and

superseded in part on reh’g, 920 F.2d 940 (D.C. Cir. 1990).

       The D.C. Circuit flatly rejected North’s claim that he could raise a good-faith defense

based on the apparent or implied authorization by his superiors in the Executive Branch:

       North’s suggested instruction, quoted above, goes so far as to conjure up the
       notion of a “Nuremberg” defense, a notion from which our criminal justice
       system, one based on individual accountability and responsibility, has historically
       recoiled. In the absence of clear and comprehensible Circuit authority that we
       must do so, we refuse to hold that following orders, without more, can transform
       an illegal act into a legal one.

Id. at 881. The Court similarly concluded that whether North “was following President

Reagan’s orders” was “immaterial” to whether North intended to “corruptly” obstruct Congress

under 18 U.S.C. § 1505. Id. at 884. In so doing, the Court rejected North’s “stunning” idea

that he could “escape the criminal consequences of his otherwise unlawful acts merely by

asserting that his reason for committing the acts was that he was ‘following orders.’” Id. at 883-

84.

       Grider’s claim is weaker than North’s unsuccessful claim in virtually every respect. He

is not—nor ever has been—a government official, let alone a government official engaged in

high-level national security work. Instead, he is a member of the public who claims that he

went to a rally and heard the former President tell him to “walk down to the Capitol” and “show

strength,” among other things. Dkt. 108 at 3. Based on that, Grider contends that he is entitled

to raise an entrapment-by-estoppel defense at trial.

       This Court should reject Grider’s attempt to deflect responsibility. The narrow

affirmative defense he invokes has no application here, and he should be precluded from raising

it at trial. Grider cannot show that former President Trump advised him that the criminal

statutes he is alleged to have violated did not apply to his conduct. And Grider cannot show that


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it was objectively reasonable for him to rely on the statements of former President Trump as

invitations to commit consequence-free criminal acts.

I.     FACTUAL AND PROCEDURAL BACKGROUND

       Grider took a flight from Dallas to Washington, D.C. on January 6, 2021, after texting

with friends and family about his plans. Once in Washington, D.C., he attended the “Stop the

Steal” rally on the National Mall. He then headed to the U.S. Capitol building, joining other

rioters in the scaffolding on the northwest terrace of the buildings. As Grider walked up the

railing of the terrace steps, other rioters scaled the walls of the terrace, and he entered the

building through the Senate wing doors just minutes after that door was first breached, at

2:15PM.

       At approximately 2:19PM, he headed toward the Crypt, where he joined with a crowd of

rioters chanting “Stop the Steal” and “Our house” in front of a line of police officers. Grider

waved others in as the crowd grew and chanted. Beginning at 2:25PM, he and the crowd started

pushing on the police line and eventually overwhelmed the police officers. Grider even spoke

with a police officer he pushed past on his way out of the Crypt. Grider continued to encourage

others to participate in the riot throughout his time in the Capitol, waving people in as he walked

through the Statuary Hall Connector.

       Shortly after 2:30PM, Grider had almost made it to the House Chamber door. He and a

small crowd gathered in the hallway between Statuary Hall and the House Chamber. They

chanted “break it down,” and “We want Trump” in front of another line of police officers who

were standing guard in front of the House Chamber door, for at least five minutes. Then, Grider

and the crowd pushed past the line of police to get to the House Chamber door. They clamored

directly outside of the House Chamber, with some banging on the door and all trying to get in.



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At one point, a rioter yelled, “Use your helmet, use your kevlar!” and shortly thereafter, Grider

held up his black helmet to the rioters in front of him.

       Unable to get into the House Chamber at this door, a couple rioters beckoned the crowd

away from the entrance and then a stream of people followed as they made their way toward the

Speaker’s Lobby. Grider appeared to be among the first people to heed the call as he sprinted

down the hallway. He was one of the first rioters to arrive at the Speaker’s Lobby door.

Grider, and other rioters, directly confronted the police officers guarding the door, agitating to

get inside. He told officers that “people are going to get hurt, just open the door man.” Then,

as Grider looked on, another rioter punched the window to the right of the door. The rioter

appeared to have cracked, but not entirely broken that window. Grider approached the rioter

then, holding out his black helmet. Grider appeared to knock on the top of the helmet,

signifying that it was a hard instrument, and then handed it over to the rioter.

       The three officers guarding the door appeared to move to the adjacent wall. Seconds

later, Grider moved in and attempted to push open at least one of the doors. Chants could be

heard of “Break it down!” and “Let’s fucking go!” Using Grider’s helmet, the other rioter

attacked the door and a window in the door. The other rioter, again using Grider’s helmet, then

attacked the window to the right of the door. Grider was at the door this entire time, observing

everything that had been set in motion with his helmet.

       A woman, later publicly identified as Ashli Babbitt, climbed through the emptied-out

window frame. At the same time, Grider backed away from the door as rioters in the crowd

started screaming “gun.” As Babbitt was climbing through the window, she was shot by an

officer on the other side of the door. After the shooting, several rioters ran out of the hallway as

police yelled for people to get out of the way. An area was eventually cleared as a path to allow



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Babbitt to be carried out of the building. Grider remained and could be seen minutes after the

shooting, leaning over the railing to get a better glimpse of Babbitt bleeding on the floor. He

was holding his phone over the stairway appearing to capture a video or pictures of Babbitt.

        Approximately ten minutes later, he exited the building and told people outside the

Capitol building about a woman getting shot. Later that evening, Grider gave a televised

interview, apparently via videoconference from Washington, D.C., to KWTX-TV News 10, a

local news media station in Waco, Texas. During the interview, he admitted to being inside the

United States Capitol Building that day when it was breached by large crowds as Congress

convened in a Joint Session to affirm the Electoral College vote in the 2020 Presidential

Election. He also described witnessing Babbitt being shot.

        Grider stated on camera, “The president asked people to come and show their support… I

feel like it’s the least that we can do, it’s kind of why I came from central Texas all the way to

DC.” The accompanying article additionally quoted the defendant as saying, “The Capitol

Police started pepper-spraying people and they were firing rubber bullets, and then after that

started, that’s when people started pushing to get into the Capitol building to be heard” and

reported that “Grider said … there were many protesters, like himself, who were protecting

monuments and art from the crowds.” 1

        Based on this conduct, Grider was charged with Civil Disorder under 18 U.S.C.

§ 231(a)(3) (Count One); Obstruction of an Official Proceeding under 18 U.S.C. § 1512(c)(2)

and (2) (Count Two); Destruction of Government Property under 18 U.S.C. § 1361 (Count

Three); Entering and Remaining in a Restricted Building or Grounds under 18 U.S.C.



1 The interview can be viewed at https://www.kwtx.com/2021/01/07/central-texas-man-witnessed-deadly-shooting-
as-trump-supporters-stormed-us-capitol/.


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§ 1752(a)(1) (Count Four); Disorderly and Disruptive Conduct in a Restricted Building or

Grounds under 18 U.S.C. § 1752(a)(2) (Count Five); Engaging in Physical Violence in a

Restricted Building or Grounds under 18 U.S.C. § 1752(a)(4) (Count Six); Disorderly Conduct in

a Capitol Building under 40 U.S.C. § 5104(e)(2)(D) (Count Seven); Act of Physical Violence in

the Capitol Grounds or Buildings under 40 U.S.C. § 5104(e)(2)(F) (Count Eight); and Parading,

Demonstrating, or Picketing in a Capitol Building under 40 U.S.C. § 5104(e)(2)(G) (Count

Nine).

         On June 22, 2022, Grider filed a “Notice of Intent to Raise Public Authority Defense.”

Dkt. 102. The next day, the Court issued a Minute Order directing legal briefing on the issue.

On July 7, 2022, Grider filed his brief in support of his intent to raise an “entrapment by

estoppel” defense. Dkt. 108.

II.      ARGUMENT

         As a matter of law, the entrapment-by-estoppel defense cannot apply on these facts.

This defense applies only if a defendant was “actively misled . . . about the state of the law

defining the offense,” and relied on that misleading advice. United States v. Cox, 906 F.3d

1170, 1191 (10th Cir. 2018). No such advice was given to Grider on or before January 7. This

defense also requires that a defendant’s reliance be reasonable. Even if Grider believed that the

statutes he is now charged with had been interpreted to permit his conduct, that belief would not

be reasonable.

         The Court should therefore preclude this defense in advance of trial. “In a variety of

procedural contexts, the vast majority of cases have held, as a matter of law, that the defense was

unavailable on the facts of the case.” United States v. Conley, 859 F. Supp. 909, 926 (W.D. Pa.

1994). Accordingly, courts have routinely rejected either jury instructions or requests to put on



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evidence by defendants whose proffered evidence fails, as a matter of law, to meet the defenses’

requirements. E.g., United States v. Nichols, 21 F.3d 1016, 1018 (10th Cir. 1994) (affirming

denial of motion to appoint psychological expert to testify in support of entrapment-by-estoppel

defense); United States v. Weitzenhoff, 35 F.3d 1275, 1290 (9th Cir. 1993) (upholding refusal to

instruct jury on entrapment-by-estoppel defense); United States v. Brebner, 951 F.2d 1017, 1024-

27 (9th Cir. 1991) (affirming exclusion of evidence purporting to raise the defense as immaterial

as a matter of law); United States v. Etheridge, 932 F.2d 318, 320-21 (4th Cir. 1991) (order

granting motion in limine precluding evidence upheld); United States v. Thompson, Case No.

1:21-cr-161-RBW, Dkt. 69 (Mar. 25, 2022) (excluding testimony of witnesses in Capitol riot

case, where defendant sought admission to support entrapment-by-estoppel and public authority

defense).

        A.       No Executive official could empower Grider, explicitly or implicitly, to
                 commit the criminal conduct he engaged in on January 6.

        As an initial matter, former President Trump did not have the authority to permit or

authorize the criminal conduct engaged in by Grider—civil disorder, obstructing an official

proceeding, disorderly conduct, engaging in physical violence in a Capitol building, entering and

remaining in a restricted area, and parading and demonstrating in a Capitol building 2—on

January 6. As Chief Judge Howell wrote last year in rejecting the idea of an entrapment-by-

estoppel defense for January 6 defendants:

        [A President] cannot, in keeping with his constitutional function and his
        responsibilities under Article II, lawfully permit actions that directly undermine the
        Constitution. Thus, a President cannot, within the confines of his constitutional
        authority, prevent the constitutionally mandated certification of the results of a
        Presidential Election or encourage others to do so on his behalf, nor can he direct
        an assault on the coequal Legislative branch of government. Were a President to

2 The defendant acknowledges that the proposed defense is unavailable to defend against at least Counts 3 and 8 of
the Superseding Indictment.


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       attempt to condone such conduct, he would act ultra vires and thus without the
       force of his constitutional authority. . . . Put simply, even if former President Trump
       in fact [explicitly directed the rioters’ actions,] his statements would not immunize
       defendants charged with offenses arising from the January 6 assault on the Capitol
       from criminal liability.

United States v. Chrestman, 525 F. Supp. 3d 14, 32-33 (D.D.C. 2021).

       The D.C. Circuit came to the same conclusion in North, when addressing Oliver North’s

contention that President Reagan authorized his obstruction of Congress in that case. The court

made clear that “‘[n]either the President nor any of [North’s] superiors had the legal authority to

order anyone to violate the law,’ particularly if such ‘orders,’ explicit or implicit, represented

nothing more than [the President’s] desires.” North, 910 F.2d at 891 n.24. Fifteen years

earlier, the D.C. Circuit did not even entertain the idea that the President can lawfully authorize

an individual to obstruct justice or Congress when it would have most obviously applied. Three

former high-ranking officials in the Nixon Administration were convicted of obstruction of

justice, conspiracy, and perjury in connection with the Watergate scandal. See United States v.

Haldeman, 559 F.2d 31, 51 (D.C. Cir. 1976). President Nixon had spoken directly and privately

with several of the defendants and directed or at least acquiesced in much of their illegal

conduct. See id. at 57-59. Yet neither the district court nor the D.C. Circuit apparently

contemplated that Nixon’s involvement in the Watergate cover-up could somehow immunize the

participants from later prosecution. Id. at 84-88; United States v. Mitchell, 385 F. Supp. 1190

(D.D.C. 1974) (district court opinion). Indeed, the district court (later affirmed on appeal)

thought so little of Nixon’s importance to his subordinates’ trial that it denied a continuance that

would have allowed Nixon to testify, on the ground that his testimony was largely immaterial or

cumulative to the defendants’ case. Mitchell, 385 F. Supp. at 1192-93.




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       Thus, even if former President Trump explicitly called for Grider to engage in the

charged criminal conduct, that could not underlie an entrapment-by-estoppel defense.

       B.      There is no available entrapment-by-estoppel defense, because Grider cannot
               point to an interpretation of the statutes he is charged with violating on
               which he reasonably relied.

       Courts have narrowly confined the entrapment-by-estoppel defense. The Supreme Court

first adopted a due process defense to entrapment by public officials in Raley v. Ohio, 360 U.S.

423 (1959). In Raley, the Supreme Court set aside the convictions of three individuals who

refused to answer the questions of the Ohio Un-American Activities Commission, in reliance on

inaccurate representations by the Commission “that they had a right to rely on the privilege

against self-incrimination” under the Ohio Constitution. 360 U.S. at 425. The Court held that

the convictions violated the Fourteenth Amendment’s Due Process Clause because they involved

“the most indefensible sort of entrapment by the State—convicting a citizen for exercising a

privilege which the State clearly had told him was available to him.” Id. at 438. The Court

emphasized that the Commission’s advice constituted “active misleading” as to the contours of

that “vague and undefined” area of law. Id.

       A few years later, the Court revisited the subject in Cox v. Louisiana, 379 U.S. 559

(1965). Cox reversed the conviction of a protester who had led a group of 2,000 in a civil rights

march across the street from a courthouse and was later prosecuted for violating an anti-picketing

statute prohibiting demonstrations “near” a courthouse. 379 U.S. at 560, 564-65. The statute

did not define that term. Id. at 560. The protesters had been “affirmatively told” by “the

highest police officials of the city, in the presence of the Sheriff and Mayor,” that protesting

across the street from the courthouse was lawful under that statute. Id. at 571. The Court

determined that the statute’s ambiguous term “near” necessarily “foresees a degree of on-the-



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spot administrative interpretation by officials charged with responsibility for administering and

enforcing it,” and thus found that the demonstrators “would justifiably tend to rely on [the

police’s] administrative interpretation of how ‘near’ the courthouse a particular demonstration

might take place.” Id. at 568-69. The Court concluded that the local officials’ interpretation of

“near” was a “limited administrative regulation of traffic” that the protesters reasonably relied

on. Id. at 569. But it also made clear that a defendant cannot reasonably rely on a law

enforcement official’s attempt to provide “a waiver of law,” which the Court described as

“beyond the power of the police.” Id.

       Distilling these cases, recent case law has limited the entrapment-by-estoppel defense to

the narrow circumstances in which a defendant reasonably relies on an interpretation of a statute

that, if accurate, would render the defendant’s conduct non-criminal. “To win an entrapment-

by-estoppel claim, a defendant criminally prosecuted for an offense must prove (1) that a

government agent actively misled him about the state of the law defining the offense; (2) that the

government agent was responsible for interpreting, administering, or enforcing the law defining

the offense; (3) that the defendant actually relied on the agent’s misleading pronouncement in

committing the offense; and (4) that the defendant’s reliance was reasonable in light of the

identity of the agent, the point of law misrepresented, and the substance of the

misrepresentation.” Cox, 906 F.3d at 1191; United States v. Burrows, 36 F.3d 875, 882 (9th Cir.

1994) (“This defense applies when [1] a government official [2] tells a defendant that certain

conduct is legal and the defendant commits what would otherwise be a crime [3] in reasonable

reliance on the official’s representation.” (quoting United States v. Baptista-Rodriguez, 17 F.3d

1354, 1368 n.18 (11th Cir. 1994)); United States v. Neville, 82 F.3d 750, 761 (7th Cir. 1996)

(“[W]e have required that [1] the government official “actively mislead the defendant; and that



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the defendant’s reliance be [2] actual and [3] reasonable in light of the identity of the agent, the

point of law represented, and the substance of the misrepresentation.”). Last year, Chief Judge

Howell adopted the Tenth Circuit’s four-part test in preliminarily rejecting a Capitol riot

defendant’s claim to a defense similar to Grider’s. See Chrestman, 525 F. Supp. 3d at 33

(adopting Cox’s four-part test for entrapment-by-estoppel defense).

       Grider cannot make out an entrapment-by-estoppel defense. No official provided an

interpretation of the law covering Grider’s alleged criminal conduct, thereby assuring Grider that

his conduct was legal. Moreover, assuming Grider relied on former President Trump’s words to

commit civil disorder, obstruction of Congress, and other crimes, that reliance was objectively

unreasonable.

                1.     Grider identifies no witness who “actively misled” him by interpreting
                       a law in a manner indicating that his criminal conduct was non-
                       criminal.

       In his speech on January 6, 2021, former President Trump did not purport to interpret the

scope of the statutes Grider is charged with violating. Said another way, former President

Trump did not “affirmatively assure[] the defendant that certain conduct [was] legal.” United

States v. Howell, 37 F.3d 1197, 1204 (7th Cir. 1994); United States v. Troncoso, 23 F.3d 612,

615 (1st Cir. 1994) (defense fails absent advice from official that conduct “was actually legal”).

Former President Trump did not state that the U.S. Capitol grounds were no longer “restricted”

under 18 U.S.C. § 1752(a); nor that it would not constitute obstruction to enter the Capitol

building under 18 U.S.C. § 1512; nor that it would not constitute an act to obstruct or impede law

enforcement officers to enter the Capitol building and join a mob to break windows and doors

under 18 U.S.C. § 231. Former President Trump did not purport to reinterpret a specific

criminal statute to render Grider’s conduct non-criminal. He therefore did not “actively



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mis[lead]” Grider “about the state of the law defining the offense.” Cox, 906 F.3d at 1191.

Grider has not identified anyone else who might have authority to do so who did so either.

Further, Grider identifies no comment made by former President Trump that purported to

reinterpret any law. As Chief Judge Howell observed last year, an entrapment-by-estoppel

defense by a January 6 rioter:

       would not be premised, as it was in Raley [and] Cox, . . . on a defendant’s
       confusion about the state of the law and a government official’s clarifying, if
       inaccurate, representations. It would instead rely on the premise that a defendant,
       though aware that his intended conduct was illegal, acted under the belief
       President Trump had waived the entire corpus of criminal law as it applied to the
       mob.

Chrestman, 525 F. Supp. 3d at 32; see also North, 910 F.2d 843 (noting that “North does not

even claim that he relied on any ‘conclusion or statement of law’”); United States v. Smith, 940

F.2d 710, 715 (1st Cir. 1991) (rejecting entrapment-by-estoppel defense because federal agent

allegedly encouraged defendant to keep firearms to assist with undercover operation, but never

was alleged “to have represented that keeping the guns was, in fact, legal”).

       Grider cites United States v. Khanu, 664 F.Supp.2d 35, 41 (D.D.C. 2009) in support of

his assertion that the former President “created the effect of advising Mr. Grider and others that

their actions were legal.” But Khanu does not support that claim. In Khanu, the defendant,

who was prosecuted for tax evasion and related crimes, claimed that a “Closing Agreement” he

had executed with the Internal Revenue Service (IRS) led him to reasonably believe that his

criminal conduct was lawful. Khanu, 664 F.Supp.2d at 41. But this Court disagreed, pointing

out that the statements at issue in the Agreement did not discuss criminal liability and certainly

could not be “reasonably construed as an official pronouncement of what conduct is lawful in a

criminal context.” Id. As an initial matter, Grider’s situation is nothing like what transpired in

Khanu, where the IRS concluded an agreement directly with the defendant. And in any event,

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Grider’s claim fails for the same reason that Khanu’s did: the former President’s statements

regarding marching to the Capitol building and showing strength cannot reasonably be

interpreted as “official pronouncement” concerning whether certain conduct violated the criminal

laws.

               2.      Any reliance would not be objectively reasonable.

        In any event, even if former President Trump’s statements could be construed as an

unexpressed interpretation of the criminal laws applicable to Grider’s conduct, and even if he

relied on that interpretation, Grider cannot show that his reliance was reasonable. “[R]easonable

reliance occurs” only “if ‘a person sincerely desirous of obeying the law would have accepted

the information as true, and would not have been put on notice to make further inquiries.’”

United States v. Lynch, 903 F.3d 1061, 1077 (9th Cir. 2018) (internal quotation marks omitted);

United States v. Corso, 20 F.3d 521, 528 (2d Cir. 1994) (adopting “sincerely desirous” standard).

After former President Trump’s remarks, Grider walked on top of the railing on the Capitol

building’s terrace stairs, next to scaffolding where rioters were throwing objects and climbing on

beams. He entered the building through a door with a busted window, joined a crowd of rioters

in the Crypt, and then continued into the Statuary Hall connector corridor. In both locations, he

was part of a crowd that pushed at and overwhelmed police lines, finally arriving at the House

Chamber door. After unsuccessfully trying to get into the House Chamber through that door, he

sprinted to the Speaker’s Lobby door to find another entry point to the House Chamber. There,

watching others attempting to break through the door and windows, he offered up his helmet to

another rioter, to assist with the destruction. After that rioter successfully used Grider’s helmet

to break the windows, Ashli Babbitt tried to climb through to the Speaker’s Lobby, and was shot

and killed.



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       Grider could not have reasonably relied on statements by former President Trump to

conclude that that conduct was lawful. His reliance on United States v. Barker, 546 F.2d 940

(D.C. Cir. 1976) (per curiam), is unavailing. In Barker, the court reversed the convictions of

two defendants who participated in the burglary of Daniel Ellsberg’s psychiatrist’s office. The

defendants claimed they did so at the behest of E. Howard Hunt, a long-time CIA agent who

worked under the supervision of John Ehrlichman in the White House. North, 910 F.2d at 879.

The case featured fractured separate opinions from the three-judge panel. Judge Wilkey, half of

the two-judge majority, wrote that a defendant’s reasonable reliance on the “apparent authority”

of a government official (there, Hunt) to authorize his conduct could make out a defense. Id.

(quoting Barker, 546 F.2d at 949 (opinion of Wilkey, J.). But that portion of Barker was not the

controlling rationale, and the panel majority in North subsequently rejected North’s request for

an instruction invoking his superiors’ “apparent authorization of his action.” Id. at 881. In any

event, Judge Wilkey’s application of reasonable reliance in Barker hinged on specific facts in

that case that have no analogue here: the Barker defendants, each of whom had worked with the

CIA, claimed that a government official (and previous CIA supervisor) authorized what they

allegedly were told was a counter-espionage operation. Grider, a private citizen, alleges no

similar relationship with former President Trump.

       Thus, regardless of former President Trump’s intent or the foreseeability of Grider’s and

other rioters’ reactions to his statements, when Grider engaged in the conduct described above,

any reasonable person in his shoes would “[know] he was breaking the law.” Corso, 20 F.3d at

529. Certainly, one “sincerely desirous of obeying the law” could not have accepted at face

value any purported assurance that such conduct was lawful. Lynch, 903 F.3d at 1077-78.

Grider therefore cannot rely on the defense of entrapment by estoppel. That would be true even



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if former President Trump explicitly called for violence and mayhem: it is unreasonable, as a

matter of law, for anyone to believe that a call for violence rendered their ensuing misconduct

lawful.

III.      CONCLUSION

          Therefore, this Court should preclude Grider from pursuing an entrapment-by-estoppel

defense at trial.




                                              Respectfully submitted,

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                                              D.C. Bar Number 481052

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 20, 2022, I caused a copy of the foregoing motion to be served

on counsel of record via electronic filing.

                                                     /s/ Cindy J. Cho
                                                     Cindy J. Cho
                                                     Assistant United States Attorney




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